   Case 1:18-cv-00134-BKS-ATB
     Case  1:18-cv-00134-BKS-ATB Document
                                  Document34-2  Filed12/17/18
                                           33 Filed   01/15/19 Page
                                                                 Page
                                                                    1 of1 2of 1

                  UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF NEW YORK


                         JUDGMENT IN A CIVIL CASE


NRW YORK STATE RIFLE & PISTOL ASSOCIATION, INC.;
ROBERT NASH and BRANDON KOCH,

                                 Plaintiffs,
       vs.                                           CASE NUMBER: 1:18-CV-134

GEORGE P. BEACH, II and RICHARD J. MCNALLY, JR.,

                                 Defendants.


Decision by Court. This action came to trial or hearing before the Court. The issues
      have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that Defendants’ motion to dismiss is GRANTED
and the amended complaint is DISMISSED, with prejudice, pursuant to the order of
the Honorable Judge Brenda K. Sannes, dated the 17 th day of December, 2018.


DATED: December 17, 2018




                                               Renata Hohl
                                               Deputy Clerk
